                       DECISION AND JUDGMENT ENTRY
{¶ 1} David M. Persons appeals the Meigs County Common Pleas Court's judgment denying his Crim.R. 36 motion. Appellant requested the trial court to correct its April 17, 2002 sentencing entry to "reflect the actual agreed to plea bargain." Appellant claims that the trial court's sentence does not comport with the plea agreement he reached with the state and does not reflect the sentence that the trial court attempted to impose. Because we find that our decision in State v.Persons, Meigs App. No. 02CA6, 2003-Ohio-4213, addresses the issues appellant raises in this appeal, we find this appeal moot and decline to address the merits.
APPEAL DISMISSED.
                             JUDGMENT ENTRY
It is ordered that the APPEAL BE DISMISSED and that the Appellee recover of Appellant costs herein taxed.
The Court finds there were reasonable grounds for this appeal.
It is ordered that a special mandate issue out of this Court directing the Meigs County Common Pleas Court to carry this judgment into execution.
IF A STAY OF EXECUTION OF SENTENCE AND RELEASE UPON BAIL HAS BEEN PREVIOUSLY GRANTED BY THE TRIAL COURT OR THIS COURT, it is temporarily continued for a period not to exceed sixty days upon the bail previously posted. The purpose of a continued stay is to allow Appellant to file with the Ohio Supreme Court an application for a stay during the pendency of proceedings in that court. If a stay is continued by this entry, it will terminate at the earlier of the expiration of the sixty day period, or the failure of the Appellant to file a notice of appeal with the Ohio Supreme Court in the forty-five day appeal period pursuant to Rule II, Sec. 2 of the Rules of Practice of the Ohio Supreme Court. Additionally, if the Ohio Supreme Court dismisses the appeal prior to expiration of sixty days, the stay will terminate as of the date of such dismissal.
A certified copy of this entry shall constitute the mandate pursuant to Rule 27 of the Rules of Appellate Procedure. Exceptions.
Evans, P.J. and Kline, J.: Concur in Judgment and Opinion.